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VAN−126 Order for Refund of Unclaimed Funds − Rev. 05/14/2008

                             UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF NORTH CAROLINA
                                                       1760−A Parkwood Blvd.
                                                          Wilson, NC 27893
IN RE:
International Heritage, Inc.                                     CASE NO.: 98−02675−5−ATS
( debtor has no known aliases )
C/O TERRI L. GARDNER                                             DATE FILED: November 25, 1998
POST OFFICE DRAWER 1389
RALEIGH, NC 27602                                                CHAPTER: 7

TaxID: 56−1921093




                                     ORDER FOR REFUND OF UNCLAIMED FUNDS

The court finds that the amount of $224.16 constituting unclaimed funds is declared due to Arcille J.
Ashby, 9508 St. Barts Lane, Huntersville, NC 28078 by the reasons stated in the motion filed in this case.

IT IS ORDERED that pursuant to 28 U.S.C. Section 2042, the Clerk, U. S. Bankruptcy Court, Eastern
District of North Carolina, pay this money to the order of the claimant.

DATED: June 2, 2008




                                                                 A. THOMAS SMALL
                                                                 United States Bankruptcy Judge
         Case 98-02675-5-DMW                Doc 16493 Filed 06/04/08 Entered 06/05/08 03:25:36                               Page 2
                                                           of 2
 Bankruptcy Noticing Center
 2525 Network Place, 3rd Floor
                                 CERTIFICATE OF SERVICE
 Herndon, Virginia 20171-3514

 District/off: 0417-5                 User: whitehead                     Page 1 of 1                         Date Rcvd: Jun 02, 2008
 Case: 98-02675                       Form ID: van126                     Total Served: 1

 The following entities were served by first class mail on Jun 04, 2008.
 cr           +Arcille J. Ashby,   9508 St. Barts Lane,   Huntersville, NC 28078-6409
 The following entities were served by electronic transmission.
 NONE.                                                                                                              TOTAL: 0
               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                              TOTAL: 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have served the attached document on the above listed entities in the manner
shown, and prepared the Certificate of Service and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Jun 04, 2008                                      Signature:
